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 1   CHRIS COSCA             SBN 144546
     LAW OFFICES OF CHRIS COSCA
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     Sacramento, CA 95814
 3   (916) 440-1010
 4   Attorney for Defendant
     ALEJANDRO MORENO GUTIERREZ
 5

 6                               UNITED STATES DISTRICT COURT
 7                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:09-CR-0358 WBS
                                                    )
10                  Plaintiff,                      )   STIPULATION AND [PROPOSED]
                                                    )   ORDER TO CONTINUE JUDGMENT
11          vs.                                     )   AND SENTENCING
                                                    )
12   ALEJANDRO MORENO GUTIERREZ,                    )   DATE: January 23, 2012
                                                    )   TIME:  9:30 a.m.
13                                                  )
                                                        JUDGE: Hon. William B. Shubb
                    Defendant.                      )
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15
                                                Stipulation
16
            The parties, through their undersigned counsel, stipulate that the judgment and sentencing
17
     hearing currently scheduled for January 23, 2012 may be continued to March 5, 2012 at 9:30
18
     a.m. The parties require additional time to prepare and gather facts relevant to judgment and
19
     sentencing herein.
20
            The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
21

22   DATED: January 18, 2012                      by      /s/ Chris Cosca
                                                          Chris Cosca
23
                                                          Attorney for Defendant
                                                          ALEJANDRO MORENO GUTIERREZ
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 1   DATED: January 18, 2012                    by      /s/ Chris Cosca for_____________________
                                                        Heiko Coppola
 2                                                      Assistant U. S. Attorney
 3                                              Order
 4          Good cause appearing,
 5          The judgment and sentence hearing currently scheduled for January 23, 2012 is continued
 6   to March 5, 2012 at 9:30 a.m.
 7

 8          IT IS SO ORDERED.
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10   DATED: January 19, 2012
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